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    1                      UNITED STATES BANKRUPTCY COURT

    2            CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES

    3                                   --oOo--

    4   In Re:                        ) Case No. 2:20-bk-17433-VZ
                                      )
    5   JONG UK BYUN,                 ) Chapter 11
                                      )
    6   Debtor,                       ) Los Angeles, California
                                      ) Tuesday, 11:00 A.M.
    7   ------------------------------X October 20, 2020

    8
    9                                         MOTION IN INDIVIDUAL
                                              CHAPTER 11 CASE FOR ORDER
   10                                         APPROVING A BUDGET FOR THE
                                              USE OF THE DEBTOR’S CASH AND
   11                                         POST-PETITION INCOME

   12
                        TRANSCRIPT OF TELEPHONIC PROCEEDINGS
   13                   BEFORE THE HONORABLE VINCENT ZURZOLO
                           UNITED STATES BANKRUPTCY JUDGE
   14

   15   APPEARANCES:

   16   For Hyundai Steel             EVAN JONES, ESQ.
        Company:                      O’Melveny & Myers, LLP
   17                                 400 Hope Street
                                      Los Angeles, California       90071
   18
        For the Debtor:               GIOVANNI ORANTES, ESQ.
   19                                 The Orantes Law Firm
                                      3435 Wilshire Boulevard
   20                                 Suite #2920
                                      Los Angeles, California       90010
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        Proceedings produced by electronic sound recording;
   25   transcript produced by transcription service.
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    1   Court Recorder:               Shemainee Carranza
                                      U.S. Bankruptcy Court
    2                                 Central District of California
                                      Edward R. Roybal Federal Building
    3                                   and Courthouse
                                      255 East Temple Street, Room #1639
    4                                 Los Angeles, California 90012
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    5
        Court Transcriptionist:       Ruth Ann Hager, C.E.T.**D-641
    6                                 Ben Hyatt Certified Deposition
                                        Reporters
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    1          LOS ANGELES, CALIFORNIA, TUESDAY, OCTOBER 20, 2020

    2                                 10:59 A.M.

    3                                   --oOo--

    4               THE COURT:    Number -- we’re going to do #2.00

    5   first.    This is the motion for an order authorizing use of

    6   cash collateral.      Appearance by the moving party, please.

    7               MR. ORANTES:     Good morning, Your Honor.       Giovanni

    8   Orantes of the Orantes Law Firm for the debtor and debtor
    9   in possession.
   10               THE COURT:    Okay.    Good morning.     And appearance
   11   on behalf of the respondent, please.
   12               MR. JONES:    Good morning, Your Honor.        Evan Jones
   13   again on behalf of Hyundai Steel.
   14               THE COURT:    Okay.    Good morning.
   15               All right.    Mr. Orantes, anything you want to add
   16   in support of your motion?
   17               MR. ORANTES:     Your Honor, with respect to the use
   18   of cash collateral I think we have established that and
   19   that we have equity in this property and what we’re asking

   20   for is the ability to use -- to set aside a reserve to pay

   21   taxes if those -- if the tenants are not paying them and in

   22   conjunction with the motion to establish a budget for the

   23   debtor.

   24               THE COURT:    Okay.    Thank you very much.

   25               Mr. Jones, anything you want to add in support of
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    1   your opposition?

    2              MR. JONES:     Yes, Your Honor.      I’d start with the

    3   only evidence that the debtor offered came in through its

    4   reply, of course, the declarations from the appraiser.

    5   Under the Local Rules we didn’t have an opportunity to

    6   object to those, but we certainly would assert the same

    7   objections that the Court just ruled on in the prior

    8   matter.
    9              That leaves the debtor only with the
   10   certification of its motion by Mr. Byun.          Under the Local
   11   Rules that is expressly not sufficient.          There is no
   12   admissible -- there is no plausible evidence to support a
   13   showing of an equity cushion here.         The debtor cannot use
   14   cash collateral without carrying the burden to prove
   15   adequate protection.      The debtor acknowledged in its motion
   16   that this is Hyundai’s cash collateral.          There is no basis
   17   to use the cash collateral.
   18              THE COURT:     Okay.    Thank you very much.
   19              Mr. Orantes, anything you want to say in reply?

   20              MR. ORANTES:      Well, yes, Your Honor.       I think as

   21   indicated that the valuation -- it -- the motion does talk

   22   about Mr. Byun’s bases for (indiscernible) values and how

   23   they relied on Mr. Byun’s valuation, including in this

   24   relief from stay motion and under that valuation that he

   25   has over 12 million dollars in equity over and above the
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    1   liens on this property -- on these properties.            And the use

    2   that we’re seeking is minimal, Your Honor.

    3              THE COURT:     Okay.    Thank you very much.      All

    4   right.

    5              First of all, again, evidentiary objections have

    6   been submitted by the respondent.         They were not submitted

    7   as required by Local Bankruptcy Rule 9013-1(i)(2) which

    8   requires them to be submitted as a separate document.
    9              Nevertheless, having reviewed the evidentiary
   10   objections I would sustain the objection at paragraph 5.
   11   The debtor fails to -- there is no foundation provided
   12   establishing who prepared the chart to which he refers.
   13   But I overrule the objection in paragraph 7 because the
   14   debtor can indeed testify as to what his debts and income
   15   are.
   16              All right.     This is a strange cash collateral
   17   motion in the sense that there are triple net leases
   18   involved here, so it’s unclear that there’s a need for the
   19   debtor to use cash collateral to pay taxes and insurance

   20   which is -- which are the only expenses which are

   21   established as being reasonably necessary.

   22              So there is -- and I would think it would be in

   23   the interests of the secured creditors as well as all

   24   creditors for that matter that taxes and insurance are,

   25   indeed, paid and kept current.
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    1               So I’m going to grant the motion for use of cash

    2   collateral only to the extent it is used for taxes and

    3   insurance and only to the extent they have not been paid by

    4   the lessees.

    5               Please lodge an order, Mr. Orantes.          The motion

    6   is granted as I’ve stated.

    7               MR. ORANTES:     Thank you, Your Honor.

    8               THE COURT:    Okay.    #1.00 is the motion to approve
    9   a budget for use of cash.       Appearance for the moving party,
   10   please.
   11               MR. ORANTES:     Yes, good morning again, Your
   12   Honor.    This is Giovanni Orantes for the debtor and debtor
   13   in possession.
   14               THE COURT:    Okay.    Good morning.     Appearance on
   15   behalf of the respondent, please.
   16               MR. JONES:    Yes, Your Honor.      Evan Jones of
   17   O’Melveny & Myers on behalf of Hyundai Steel.
   18               THE COURT:    Okay.    Thank you.    Okay.    Mr.
   19   Orantes, anything you want to add in support of the motion?

   20               MR. ORANTES:     Thank you, Your Honor.       Your Honor,

   21   as the full motion indicates, to the extent that this

   22   motion is necessary to operate under the ordinary course of

   23   business, which is what Mr. Byun seeks to do, his business

   24   is fronting his properties and he’s the one who actively

   25   goes out and gets the tenants and negotiates them with the
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    1   help of a broker and he has obtained significant rents.              We

    2   believe that it’s warranted that he be allowed to pay his

    3   living expenses.      In that reply we actually provided -- he

    4   does have small children, so the budget that he’s put forth

    5   is reasonable, Your Honor.

    6               THE COURT:    Okay.    Thank you.

    7               Mr. Jones, anything you want to add in support of

    8   your opposition?
    9               MR. JONES:    Your Honor, I guess the first point
   10   is that obviously the debtor has no funds that are not cash
   11   collateral of Hyundai Steel and he admits that in his
   12   papers.    The Court has just ruled on use of cash
   13   collateral, excuse me.       And by the way, Your Honor, we
   14   don’t object to use of the cash collateral to pay insurance
   15   and taxes that aren’t being paid by the tenants, but that’s
   16   not what the request was and that’s not what this budget
   17   request.
   18               This budget request is for the debtor to use
   19   Hyundai’s cash collateral to support a lifestyle that is

   20   comfortable.     It’s four times the standards set forth by

   21   the federal government for a Chapter 13 debtor.            There’s no

   22   evidentiary support why those are appropriate and there’s

   23   no showing of adequate protection to Hyundai from using the

   24   funds that way.

   25               So we would continue our opposition to this
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    1   motion.

    2              THE COURT:     Okay.    Thank you very much.

    3              Mr. Orantes, do you wish to make a reply?

    4              MR. ORANTES:      Yes, Your Honor.     Thank you.

    5              Your Honor, even if the Court does not authorize

    6   the use of cash collateral the debtor did have over

    7   $300,000 in his individual bank account at the date of the

    8   petition and which is not cash collateral under governing
    9   law.   And even his use of that money at the levels that
   10   we’re requesting, which is just over $7,000 a month, is
   11   very reasonable and warranted.
   12              THE COURT:     Okay.
   13              MR. JONES:     Your Honor, might I reply because
   14   Mr. Orantes has just raised a point that is not in his
   15   motion papers?
   16              THE COURT:     Which point are you speaking to?
   17              MR. JONES:     Your Honor, with regard to the cash
   18   on hand.   In his reply for the first time Mr. Orantes first
   19   suggested that that is not cash collateral of Hyundai.              In

   20   fact, though, Your Honor, his motion papers acknowledge

   21   that it’s cash collateral Hyundai, so we’ve not had a

   22   chance to respond to this new suggestion that the rents

   23   that he has held onto are not our cash collateral and we

   24   believe that he acknowledged in his moving papers that they

   25   are and raising that issue in the reply is procedurally
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    1   inappropriate.

    2               THE COURT:    Okay.    Thank you very much.

    3               All right.    This is a motion for an order

    4   allowing use of cash for debtor’s expenses.           Evidentiary

    5   objections were interposed.        Again, they are not submitted

    6   in a separate document as required by our Local Bankruptcy

    7   Rules. But here it is important to note that the burden of

    8   going forward and the burden of persuasion is on the moving
    9   party.    There is absolutely no evidence given to me by the
   10   moving party of the reasonableness of the expenses that are
   11   set forth in the motion, especially in comparison to IRS
   12   standards of appropriate and reasonable expenses, even for
   13   multiple person households.
   14               So, for example, there is -- the debtor seeks
   15   $7,457 approximately of expenses.         The IRS standards allow
   16   for only $2,118.      There is no showing made by the moving
   17   party why this is reasonable.        Therefore, the motion is
   18   denied.
   19               My findings of facts and conclusions of law are

   20   on the record.     Mr. Jones, please lodge a very simple order

   21   denying the motion.      You can make reference to the findings

   22   of fact, conclusions of law being made on the record.

   23               MR. JONES:    Yes, Your Honor, we will do so.

   24               THE COURT:    All right.     Thank you all very much.

   25   Court is adjourned.
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    1   (End at 11:08 a.m.)

    2                                * * * * * *

    3              I certify that the foregoing is a correct

    4   transcript from the electronic sound recording of the

    5   proceedings in the above-entitled matter.

    6

    7

    8   ______________________________             Date:    10/19/2020
    9   RUTH ANN HAGER, C.E.T.**D-641
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